                                                            Judge Mary Jo Heston
 1                                                          Chapter 13
 2                                                          Location: Tacoma
                                                            Hearing Date: February 3, 2020
 3                                                          Hearing Time: 1:00 p.m.
                                                            Response Due: January 27, 2020
 4

 5

 6
                          IN THE UNITED STATES BANKRUPTCY COURT
 7                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8
      In re                                              Case No.: 19-42890-MJH
 9
                    SARAH HOOVER                         NOTE FOR MOTION TO ANNUL STAY
10

11                                          Debtor(s).

12
     TO: Clerk of the Bankruptcy Court, and;
13
     TO: Debtor above named and Debtor’s Attorney, and;
14
     TO: U.S. Trustee;
15   TO: ALL OTHER INTERESTED PARTIES:
16          PLEASE TAKE NOTICE that the creditor in the attached motion to annul automatic stay is
17   seeking to annul the automatic stay as of the petition date to validate a trustee’s sale of real property
     commonly known as 18205 106th Street East, Bonney Lake, Washington.
18   The motion is set for hearing as follows:
19
     Honorable Mary Jo Heston                       Time: 1:00 PM
20

21   Place: U.S. Bankruptcy Court                   Date: February 3, 2020
            Tacoma Federal Courthouse
22          Union Station, 1717 Pacific AVE
            Tacoma, WA 98402-3233
23

24            IF YOU OPPOSE the motion, you must file your written response with the court clerk, serve
25   two copies on the Judge's chambers, and deliver copies on the undersigned NOT LATER THAN the
26
     RESPONSE DATE, which is January 27, 2020.


      NOTE FOR MOTION TO ANNUL AUTOMATIC                             SCHWEET LINDE & COULSON, PLLC
      STAY - 1                                                                  575 S. MICHIGAN ST.
                                                                                SEATTLE, WA 98108
                                                                         P (206) 275-1010 F (206) 381-0101
     Case 19-42890-MJH          Doc 18-2      Filed 01/10/20     Ent. 01/10/20 16:22:52           Pg. 1 of 2
             IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
 1

 2   GRANT THE MOTION PRIOR TO THE HEARING, WITHOUT FURTHER NOTICE, and
 3
     strike the hearing.
 4

 5      DATED this 10th day of January, 2020.

 6
                                                          /s/ John A. McIntosh      _
 7                                                        John A. McIntosh, WSBA #43113
                                                          Attorney for Movant
 8

 9

10                                   DECLARATION OF SERVICE
11          The undersigned certifies under penalty of perjury under the laws of the State of Washington
12
     that the following is true and correct:
13
             That on January 2, 2020, I caused this document to filed electronically through the CM/ECF
14
      system which caused the Registered Participants to be served by electronic means as fully reflected
15

16    on the Notice of Electronic Filing.

17           Signed at Seattle, Washington on January 2, 2020.

18
                                                          /s/ Maureen A. Fitzgerald
19                                                        Maureen A. Fitzgerald
20

21

22

23

24

25

26


      NOTE FOR MOTION TO ANNUL AUTOMATIC                            SCHWEET LINDE & COULSON, PLLC
      STAY - 2                                                                 575 S. MICHIGAN ST.
                                                                               SEATTLE, WA 98108
                                                                        P (206) 275-1010 F (206) 381-0101
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